
The petition for writ of mandamus is granted. The trial court is ordered to strike the husband's notice for trial and to remove the case from the trial docket, as the wife's motion to strike the husband's reply, a motion directed to the last pleading served, has not yet been disposed of. See Fla. Fam. L. R. P. 12.440 ; Gawker Media, LLC v. Bollea, 170 So. 3d 125 (Fla. 2d DCA2015). Because we are confident that the circuit court will promptly comply with this ruling, we withhold formal issuance of the writ. The wife's motion to strike is denied as moot.
VILLANTI, MORRIS, and ROTHSTEIN-YOUAKIM, JJ., Concur.
